         Case 1:19-cr-00018-ABJ Document 248 Filed 11/04/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                 Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                             ORDER

         On September 25, 2019, for the reasons stated on the record in the courtroom at the Pretrial
Conference, the following government exhibits (“GX”) were ruled on as follows: GX 21, 22, 24,
42, 43, 44, 165, 166, and 167 are admitted. GX 148 will be admitted with redactions.
        On November 4, 2019, for the reasons stated on the record in the courtroom at the continued
Pretrial Conference, the following defense exhibits (“DX”) were ruled on as follows: DX 65, 71,
170, and 176 are excluded. If the author of DX 176 testifies, and if he makes statements of fact
that are inconsistent with statements in his book, then the defense may request permission to cross
examine him with those statements. DX 76 and 77 will be admitted with redactions, and DX 79
is admitted.
       The Court heard argument on DX 177 and 178 and took the rulings on those exhibits under
advisement. With respect to DX 177, portions of the HPSCI Majority Report, pages 1–139 will
be admitted; pages 156–165 (Appendix G), which relate to proceedings before a separate
Congressional Committee – the Senate Committee on the Judiciary, and to a witness who will not
appear in this case, will be excluded as irrelevant and hearsay. The defense has withdrawn its
request to introduce pages 185–243 (Appendix H), so that evidence will also be excluded.

        With respect to DX 178, portions of the HPSCI Minority Report, the first and last
paragraphs under the heading “Candidate Trump’s Public Statements” will be admitted, but the
middle three paragraphs will be excluded. The first paragraph under the heading, “Donald Trump
Jr. and Wikileaks” will be admitted, but the remainder of the information under that heading on
pages 33 and 34 will be excluded. The material on pages 34–39 that appears under the heading
“Roger Stone, Wikileaks, and Guccifer 2.0” will be admitted, and the material on pages 40–41
under the heading “Majority Report” will be admitted. The material beginning on page 41 under
the heading “July 2016 – Carter Page Travel to Moscow” through page 53, will be excluded, with
the exception of the phrase on page 53 that states, “As outlined in the March 13, 2018 status update,
among an array of other steps, the Minority believes it is necessary to:” and the first clause of the
third bulleted paragraph following the colon that says, “Issue Committee subpoenas to the
         Case 1:19-cr-00018-ABJ Document 248 Filed 11/04/19 Page 2 of 2



following individuals.” The rest of page 53 will be excluded, and all of page 54, with the exception
of the final paragraph related to Roger Stone, will be excluded. The paragraph related to Roger
Stone on page 54 and the paragraph page 55 will be admitted.

       SO ORDERED.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: November 4, 2019




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